Russell D. Garrett, OSB # 882111
JORDAN RAMIS PC
Two Centerpointe Drive, Suite 600
Lake Oswego, OR 97035
Telephone: (503) 598-7070
Fax: (503) 598-7373
       Attorney for Plaintiff Richard Smith




                          IN THE UNITED STATES BANKRUPTCY COURT

                                    FOR THE DISTRICT OF OREGON

In re                                                      Case No. 20-60085-tmr13

JASON WRIGHT                                               Adv. Proc. Case No.
ROXANNE WRIGHT,
                                                           COMPLAINT FOR EXCEPTION TO
            Debtors.                                       DISCHARGE FOR WILLFUL OR
_______________________________________                    MALICIOUS INJURY UNDER 11
                                                           U.S.C. § 1328(a)(4); AND FOR
RICHARD SMITH,                                             DAMAGES FOR CRIMINAL
                                                           RESTITUTION FOR WILLFUL OR
                   Plaintiff,                              MALICIOUS INJURY UNDER 11
                                                           U.S.C. §11 U.S.C. § 1328(a)(3)
           v.

JASON WRIGHT,

                   Defendant.

           Plaintiff Richard Smith alleges as follows:

                            JURISDICTION, VENUE, AND AUTHORITY

                                                    1.

           This action is for claims pursuant to 11 U.S.C. § 1328(a)(3) and 1328(a)(4). The claims

under Claims 1 and 2 are core proceeding under 28 U.S.C. § 157(b)(2)(I), and this court has

jurisdiction under 28 U.S.C. § 1334.

///
  Page 1 - COMPLAINT FOR EXCEPTION TO                                             JORDAN RAMIS PC
                                                                                    Attorneys at Law
  DISCHARGE FOR WILLFUL OR MALICIOUS INJURY                                Two Centerpointe Drive, Suite 600
                                                                                Lake Oswego, OR 97035
  UNDER 11 U.S.C. § 1328(a)(4); AND FOR DAMAGES                      Telephone: (503) 598-7070 Fax: (503) 598-7373
  FOR CRIMINAL RESTITUTION FOR WILLFUL OR
  MALICIOUS INJURY UNDER 11 U.S.C. §11 U.S.C.
  § 1328(a)(3)

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                                                   2.

           Venue is appropriate in the District of Oregon pursuant to 28 U.S.C. § 1409.

                                                   3.

           This court has constitutional authority to enter a final order or judgment in this

proceeding.

                                              PARTIES

                                                   4.

           Plaintiff Richard Smith (hereinafter “Plaintiff”) has standing as a creditor to bring this

action.

                                                   5.

           Defendant Jason Wright (hereinafter “Defendant”) and his wife Roxanne Wright

voluntarily filed a Chapter 13 bankruptcy case on January 15, 2020.

                                     FACTUAL ALLEGATIONS

                                                   6.

           In the early morning hours of August 23, 2016, Plaintiff and Defendant were at the

Seattle-Tacoma International Airport in King County, Washington.

                                                   7.

           Plaintiff and Defendant each arrived at the airport on a red eye flight from Los Angeles.

                                                   8.

           Upon arrival, Plaintiff and Defendant were riding within the same train car of the

Satellite Transit System (STS), the automated train system that moves people between the main

terminal of the airport and the north and south terminals.

///

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  § 1328(a)(3)

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                                                  9.

           As the train doors closed, Defendant sat at the end of the train car and made noises,

kicked the train car wall, and looked menacingly at Plaintiff.

                                                  10.

           Based on Defendant’s strange and intimidating behavior, Plaintiff became fearful for his

safety. Plaintiff noticed that there were no security cameras on the train, so Plaintiff started

video-recording Defendant with his cell phone camera.

                                                  11.

           When Defendant noticed that Plaintiff was recording him, Defendant angered and started

flipping off Plaintiff.

                                                  12.

           Defendant charged Plaintiff to snatch Plaintiff’s mobile phone. Defendant cut off the

video by knocking the mobile phone to the ground.

                                                  13.

           Plaintiff sustained significant injuries during the incident, requiring medical attention and

eventually surgery on his shoulder.

                                                  14.

           Plaintiff’s mobile phone was also broken in the incident.

                                                  15.

           Defendant’s actions were the proximate cause of Plaintiff’s injuries, to include special

and general damages to be proven at the time of trial.

///

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                                               ASSAULT

                                                  16.

           Defendant’s actions described herein constituted an attempted by Defendant to cause

apprehension by Plaintiff of a harmful or offensive contact.

                                                  17.

           By his actions, Defendant intended to interfere with Plaintiff’s personal integrity.

                                                  18.

           Plaintiff’s apprehension was reasonable.

                                                  19.

           Defendant’s actions caused harm to Plaintiff.

                                               BATTERY

                                                  20.

           Defendant’s actions described herein resulted in contact with Plaintiff’s mobile phone

and person.

                                                  21.

           Defendant’s contact with Plaintiff was harmful or offensive.

                                                  22.

           Defendant intended to bring about harmful or offensive contact as indicated by the

circumstances described herein.

                                                  23.

           Defendant’s harmful or offensive contact with Plaintiff’s mobile phone or person caused

Plaintiff injury.

///

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  UNDER 11 U.S.C. § 1328(a)(4); AND FOR DAMAGES                     Telephone: (503) 598-7070 Fax: (503) 598-7373
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  § 1328(a)(3)

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           For its first claim for relief against Defendant Jason Wright, Plaintiff alleges:

                     First Claim for Relief Against Defendant Jason Wright

                                        11 U.S.C. § 1328(a)(4)

                          (Willful or Malicious Injury in a Civil Matter)

                                                  24.

           Plaintiff realleges paragraphs 1 - 23 and incorporates them herein by this reference.

                                                  25.

           Defendant is subject to a pending lawsuit in Superior Court for the State of

Washington for King County, Case No. 18-2-20840-8 KNT (hereinafter “King County

Litigation”), a copy of the Amended Complaint is attached hereto as Exhibit 1 and

incorporated herein by this reference. On or about January 15, 2020 Jason and Roxanne

Wright filed a voluntary Chapter 13 bankruptcy in case number 20-60085-tmr13.

                                                  26.

           The King County Litigation is a civil action by Plaintiff against Defendant for claims that

are willful or malicious in a civil matter.

                                                  27.

           Plaintiff’s claims in the King County Litigation are not subject to the discharge pursuant

to 11 U.S.C. § 1328(a)(4).

           For its second claim for relief against Defendant Jason Wright, Plaintiff alleges:

                    Second Claim for Relief Against Defendant Jason Wright

                                        11 U.S.C. § 1328(a)(3)

                                   (Restitution or Criminal Fine)


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  UNDER 11 U.S.C. § 1328(a)(4); AND FOR DAMAGES                     Telephone: (503) 598-7070 Fax: (503) 598-7373
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  § 1328(a)(3)

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                                                 28.

           Plaintiff realleges and incorporates by reference paragraphs 1 - 26 and incorporates them

herein by this reference.

                                                 29.

           As a consequence of Defendants actions towards Plaintiff on or about August 23, 2016,

Defendant has been charged with certain crimes in King County Superior Court.

                                                 30.

           As a consequence of the criminal action against Defendant, the King County Court in the

criminal case may order restitution or criminal fine as part of a sentence on Defendant’s

conviction of one or more crimes.

                                                 31.

           Restitution or fines awarded in the King County Superior Court criminal matter are not

subjection to the discharge under 11 U.S.C. § 1328(1)(3).

           WHEREFORE, Plaintiff prays for relief against Defendant as follows:

           1.      On Plaintiff’s First Claim for Relief, an order declaring that all damages awarded

in the King County Superior Court civil case, also known as the King County Litigation, is

excepted from discharge pursuant 11 U.S.C. § 1328(a)(4);

           2.      On Plaintiff’s Second Claim for Relief for an order that any restitution or criminal

fine ordered in King County Superior Court criminal matter is excepted from the discharge

pursuant to 11 U.S.C. § 1328(a)(3);

///

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  UNDER 11 U.S.C. § 1328(a)(4); AND FOR DAMAGES                    Telephone: (503) 598-7070 Fax: (503) 598-7373
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  § 1328(a)(3)

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           3.      For Plaintiff’s costs and disbursements incurred herein; and

           4.      For such further relief as the court deems just and equitable.

           Dated this 1st day of May, 2020.

                                                         JORDAN RAMIS PC



                                                         By: /s/ Russell D. Garrett
                                                             Russell D. Garrett, OSB # 882111
                                                             Two Centerpointe Drive, Suite 600
                                                             Lake Oswego, OR 97035
                                                             Telephone: (503) 598-7070
                                                             Facsimile: (503) 598-7373
                                                             E-mail: russ.garrett@jordanramis.com
                                                             Attorney for Plaintiff Richard Smith




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  § 1328(a)(3)

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7                  SUPERIOR COURT OF THE STATE OF WASHINGTON
                             IN AND FOR KING COUNTY
8
     RICHARD L. SMITH,
9                                                        NO. 18-2-20840-8 KNT
                          Plaintiff,
10          v.                                           PLAINTIFF RICHARD SMITH’S
                                                         AMENDED COMPLAINT FOR
11   JASON M. WRIGHT,                                    DAMAGES

12                        Defendant.

13
            COMES NOW, Plaintiff Richard Smith, by and through his undersigned counsel
14
     of record alleges as follows:
15
                                       I.         INCORPORATION
16
            By way of this reference, each paragraph contained herein is incorporated as
17
     support for each paragraph which follows.
18
                                            II.      PARTIES
19
            2.1    Plaintiff, Richard L. Smith, (hereinafter “Plaintiff”) was at all relevant times
20
     hereto a resident of Snohomish County, Washington.
21
            2.2    Defendant, Jason M. Wright, was a resident of King County, Washington
22
     at all times relevant and material to this complaint. Upon information and belief,
23


     PLAINTIFF RICHARD SMITH’S AMENDED                                 SOUND INJURY LAW
     COMPLAINT - 1 of 6                                               1218 Third Avenue, Suite 1000
                                                                           Seattle, WA 98101
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                                                                           www.soundinjury.law


                                                                                                   Exhibit 1
                  Case 20-06021-tmr           Doc 1     Filed 05/01/20                           Page 1 of 6
1    Defendant Wright is presently a resident of Medford, Oregon.

2                              I.         JURISDICTION AND VENUE

3           2.1     The Superior Courts of Washington have original subject matter

4    jurisdiction of this matter pursuant to the Constitution of the State of Washington, Article

5    IV, § 6, and RCW 4.28.185(1)(b).

6           2.2     Venue is proper in King County Superior Court, pursuant to RCW

7    4.12.020, because the cause of action herein arose in King County, Washington.

8                                   II.    STATEMENT OF FACTS

9           2.1     In the early morning hours of August 23, 2016, Plaintiff Richard Smith

10   and Defendant Jason Wright were at the Seattle-Tacoma International Airport in King

11   County, Washington.

12          2.2     Plaintiff and Defendant each arrived at the airport on a red eye flight from

13   Los Angeles.

14          2.3     Upon arrival, Plaintiff and Defendant were riding within the same train car

15   of the Satellite Transit System (STS), the automated train system that moves people

16   between the main terminal of the airport and the north and south terminals.

17          2.4     As the train doors closed, Mr. Wright sat at the end of the train car and

18   made noises, kicked the train car wall, and looked menacingly at Mr. Smith.

19          2.5     Based on Mr. Wright’s strange and intimidating behavior, Mr. Smith

20   became fearful for his safety. He noticed that there were no security cameras on the

21   train, so Mr. Smith started video-recording Mr. Wright with his cell phone camera.

22          2.6     When Mr. Wright noticed that Mr. Smith was recording him, Mr. Wright

23   angered and started flipping off Mr. Smith.


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                                                                                                  Exhibit 1
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1           2.7     Mr. Wright charged at Mr. Smith to snatch Mr. Smith’s mobile phone. Mr.

2    Wright cut off the video by knocking the mobile phone to the ground.

3           2.8     Mr. Wright then fought with Mr. Smith, holding Mr. Smith in a headlock,

4    wrenching his right arm, and hitting his head and body. Mr. Smith was unable to move

5    and unable to reach his mobile phone.

6           2.9     Mr. Smith sustained significant injuries during the incident, requiring

7    medical attention and eventually surgery on his shoulder.

8           2.10    Mr. Smith’s mobile phone was also broken in the incident.

9           2.11    Mr. Wright’s actions were the proximate cause of Mr. Smith’s injuries, to

10   include special and general damages to be proven at the time of trial.

11                         III.   CAUSE OF ACTION: NEGLIGENCE

12          3.1     Defendant Wright owed a duty of ordinary care to refrain from causing

13   injury to others.

14          3.2     Specifically, Defendant Wright owed a duty to conduct himself in manner

15   so as not to injure Mr. Smith while attempting to stop Mr. Smith’s mobile phone from

16   recording video.

17          3.3     Furthermore, Defendant Wright owed a duty to not to injure Mr. Smith in

18   his struggle to regain control of his mobile phone.

19          3.4     Mr. Wright breached these duties of ordinary care by injuring Mr. Smith

20   while attempting to prevent Mr. Smith from recording video on his mobile phone.

21          3.5     Mr. Wright’s breaches proximately caused harm to Mr. Smith.

22          3.6     Specifically, Mr. Smith sustained physical, psychological, and emotional

23   damages as a result of the August 23, 2016, incident.


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                                                                                               Exhibit 1
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1                       IV.    CAUSE OF ACTION: GROSS NELIGENCE

2           4.1    Defendant Wright owed a duty of care to refrain from injuring others.

3           4.2    Specifically, Defendant Wright owed a duty to conduct himself in manner

4    so as not to injure Mr. Smith while attempting to stop Mr. Smith’s mobile phone from

5    recording video.

6           4.3    Furthermore, Defendant Wright owed a duty to not to injure Mr. Smith in

7    his struggle to regain control of his mobile phone.

8           4.4    Mr. Wright breached these duties by failing to exercise even slight care

9    when he injured Mr. Smith in his attempts to prevent Mr. Smith from recording video

10   on his mobile phone.

11          4.5    Mr. Wright exercised substantially less than ordinary care.

12          4.6    Mr. Wright’s breaches of care proximately caused harm to Mr. Smith.

13          4.7    Specifically, Mr. Smith sustained physical, psychological, and emotional

14   damages as a result of the August 23, 2016, incident.

15                            V.    CAUSE OF ACTION: ASSAULT

16          5.1    Mr. Wright’s actions described herein constituted an attempt by Mr.

17   Wright to cause apprehension by Mr. Smith of a harmful or offensive contact.

18          5.2    By his actions, Mr. Wright intended to interfere with Mr. Smith’s personal

19   integrity.

20          5.3    Mr. Smith’s apprehension was reasonable.

21          5.4    Mr. Wright’s actions caused harm to Mr. Smith.

22                            VI.   CAUSE OF ACTION: BATTERY

23          6.1    Mr. Wright actions described herein resulted in contact Mr. Smith’s


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1    mobile phone and person.

2           6.2     Mr. Wright’s contact with Mr. Smith was harmful or offensive.

3           6.3     Mr. Wright intended to bring about harmful or offensive contact as

4    indicated by the circumstances described herein.

5           6.4     Mr. Wright’s harmful or offensive contact with Mr. Smith’s mobile phone

6    or person caused Mr. Smith injury.

7                                 VII.   PRAYER FOR RELIEF

8           WHEREFORE, Plaintiff prays for Judgment against Defendant:

9           7.1     Awarding Plaintiff both non-economic and economic damages to be

10   proven at trial;

11          7.2     Awarding Plaintiff reasonable attorney’s fees and costs as available

12   under law;

13          7.3     Awarding Plaintiff any and all applicable interest on the judgment; and

14          7.4     Awarding Plaintiff such other and further relief as the Court deems just

15   and proper under the circumstances of this case.

16          DATED this 30th day of July, 2019.

17                                       SOUND INJURY LAW PLLC

18
                                         By s/ John C. Hardie
19                                         John C. Hardie, WSBA No. 50594
                                           jch@soundinjury.law
20

21

22

23


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                                                                                                Exhibit 1
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1                                CERTIFICATE OF SERVICE

2            I HEREBY CERTIFY that on Tuesday, July 30, 2019, I sent for delivery a true
     and correct copy of the foregoing Notice of Court Date, Plaintiff Richard Smith’s
3    Amended Complaint by the method indicated below, and addressed to the
     following:
4

5     Jason Wright                                   U.S. MAIL
      3537 South Fork Little Butte Creek Rd.
6     Eagle Point, OR 97524
                                                 X   LEGAL
7                                                    MESSENGER
      Brittany C. Ward                               (Mr. Wright)
8     Mix Sanders Thompson, PLLC
      1420 Fifth Ave., Ste. 2200                 X   E-SERVICE
9     Seattle, WA 98101
                                                     (Ms. Ward)
10
                                                     HAND DELIVERED
11
                                                     EXPRESS
12                                                   DELIVERY
13
                                                     FACSIMILE
14

15

16                                    s/ John C. Hardie
                                      JOHN C. HARDIE
17

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19

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21

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